   Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 1 of 54 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 JEFFREY BYROADE, derivatively on behalf
 of GERON CORPORATION
                                                     VERIFIED STOCKHOLDER
                        Plaintiff,                   DERIVATIVE COMPLAINT

         v.
                                                     DEMAND FOR JURY TRIAL
 JOHN A. SCARLETT, KARIN EASTHAM,
 V. BRYAN LAWLIS, SUSAN M.
 MOLINEAUX, ROBERT J. SPIEGEL,                       Case No.
 DANIEL M. BRADBURY, and HOYOUNG
 HUH,

                        Defendants,

         and

 GERON CORPORATION,

                        Nominal Defendant.


       Plaintiff Jeffrey Byroade (“Plaintiff”), by and through his undersigned counsel,

derivatively on behalf of nominal defendant Geron Corporation (“Geron” or the “Company”),

submits this Verified Stockholder Derivative Complaint against the Individual Defendants

(defined herein) as officers and/or directors of Geron for breaches of fiduciary duty, unjust

enrichment, and violations of Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”). Plaintiff bases his allegations on personal knowledge as to his own acts, and on information

and belief as to all other allegations based upon investigation by counsel, including, but not limited

to, a review and analysis of: (i) regulatory filings made by Geron with the U.S. Securities and

Exchange Commission (the “SEC”); (ii) press releases issued and disseminated by Geron; (iii) a

purported securities class action lawsuit filed in the United Stated District Court for the Northern

District of California captioned Junge v. Geron Corporation, et al., Case No. 3:20-cv-00547
   Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 2 of 54 PageID #: 2




(N.D.C.A.) (the “Securities Class Action”), alleging violations of the federal securities laws based

on similar facts and circumstances as alleged herein; and (iv) other publicly-available information,

including media and analyst reports, concerning Geron.

                       NATURE OF THE ACTION AND OVERVIEW

       1.      This is a stockholder derivative action that seeks to remedy wrongdoing committed

by certain of Geron’s officers and members of the Company’s Board of Directors (the “Board”)

and their affiliates. Plaintiff seeks to remedy the Individual Defendants’(defined below) violations

of state and federal laws from November 3, 2016 through the present (the “Relevant Period”) that

have caused and continue to cause substantial monetary damages to Geron and other damages,

including damages to its reputation and goodwill.

       2.      Geron is a biopharmaceutical company with only drug product candidate. In 2018,

Geron had fifteen full-time employees and three part-time employees.

       3.      During the Relevant Period, the Company was focused on the development of

imetelstat, a telomerase inhibitor called for the treatment of hematologic myeloid malignancies

like myelofibrosis (“MF”) and myelodysplastic syndromes (“MDS”).

       4.      MF is a rare, chronic blood cancer in which excessive scar tissue forms in the bone

marrow and impairs its ability to produce normal blood cells. MF has the worst prognosis and

poorest quality of life of all the chronic blood cancers. MF causes severe debilitating symptoms,

including an enlarged spleen (splenomegaly), which in turn causes pain and negatively affects

white and red blood cell production, leading to anemia and increased risk of infection. Other

severe and debilitating symptoms that degrade quality of life include abdominal pain, fatigue,

fever, weight loss, bone pain, and itching. Because MF patients have severe disease burden and

reduced quality of life, disease management is focused on the relief of symptoms and improvement




                                                 2
  Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 3 of 54 PageID #: 3




in quality of life. Due to MF’s severe debilitating symptoms, MF patients are not likely to

undertake a treatment that does not substantially reduce these symptoms.

       5.      In 2013, Geron disclosed the positive results of a pilot study of MF patients taking

imetelstat that showed 39% of patients with enlarged spleens achieved reduction in spleen size of

≥50%, and symptom responses of ≥50% were observed in 77% of patients. Further, 23%

experienced a complete or partial remission, and another 18% experienced clinical improvements,

for a total of over 40% of patients experiencing a complete or partial remission, or clinical

improvement.

       6.      In November 2014, capitalizing on the promising results from the pilot study,

Geron entered into a collaboration and licensing agreement (“CLA”) with Janssen Biotech Inc.

(“Janssen”), a division of Johnson & Johnson, for the development of imetelstat for all indications

in oncology, including MF, which resulted in a $35 million payment to Geron, with the potential

for hundreds of millions more if imetelstat proved effective in treating MF.

       7.      In 2015, the Individual Defendants and Janssen initiated the IMbark study. Under

the CLA, while Janssen was responsible for conducting the IMbark study, Geron shared expenses

with Janssen and monitored the progress of the study and the data collected through the Joint

Steering Committee (“JSC”), which consisted of both senior Geron and Janssen executives.

       8.      As noted, patients with MF often have an enlarged spleen, so IMbark’s co-primary

endpoints sought to measure objectively whether imetelstat reduced spleen size. These co-primary

endpoints were selected by the Individual Defendants because they were the endpoints used by

Incyte Corporation to gain approval for Jakafi (ruxolitinib), then the only FDA-approved drug for

treating MF.




                                                3
   Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 4 of 54 PageID #: 4




       9.      IMbark was not a blinded study, therefore, members of the JSC, through periodic

data reviews, had access to objective data that showed whether patients on imetelstat met the

study’s co-primary endpoints. IMbark had fourteen secondary endpoints to measure other patient

responses to imetelstat, including overall survival. Overall survival was not selected as a primary

endpoint because IMbark, as a Phase 2 study, did not have a control arm, and as a result, this

endpoint was unreliable due to variability in patient selection and baseline patient health

conditions, and as a result, could be biased and overstate or understate treatment efficacy.

       10.     In October 2016, the last patient enrolled in IMbark, with approximately 100

patients enrolled in total. Patients in IMbark were followed for 24 weeks after their last treatment,

which made objective data determining the proportion of patients that met the two co-primary

endpoints available around April 2017.

       11.     Nevertheless, the results of the IMbark study showed that imetelstat was not

effective in improving quality of life because the vast majority of patients in the IMbark study had

failed to meet the trial’s co-primary endpoints at week 24. In short, the results of IMbark showed

imetelstat did not produce the robust efficacy outcomes seen in studies of Jakafi, or the

unprecedented and durable results seen in the earlier pilot study of MF patients taking imetelstat.

       12.     The material adverse results doomed Geron’s partnership with Janssen because

Janssen would decide whether to continue to license imetelstat based, in part, on the results of the

two primary endpoints in the IMbark trial. Following the JSC’s review of the IMbark data in 2016

and 2017, instead of disclosing IMbark’s material, adverse results, Geron’s Chief Executive

Officer (“CEO”), defendant John A. Scarlett (“Scarlett”), falsely stated that Geron observed

“encouraging trends in the efficacy data” and “outcomes measures” that included “a range of

spleen volume reductions” and “decreases in total symptom scores.”




                                                 4
   Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 5 of 54 PageID #: 5




        13.     Nevertheless, instead of disclosing that the vast majority of patients in IMbark

failed to meet the two primary endpoints, defendant Scarlett falsely stated that the IMbark data

results reviewed in March 2018 “remain consistent with prior data reviews.” This was not true, as

the IMbark study data did not show “encouraging trends in the efficacy data” because the two

primary endpoints, which were the most important clinical outcomes being studied in IMbark,

were not met for the vast majority of IMbark study patients. Moreover, there were zero complete

remissions.

        14.     Based on the data and work performed on IMbark, defendant Scarlett falsely

represented that development of imetelstat had been “derisked,” creating the misimpression that

the data from the IMbark study showed imetelstat was effective in reducing spleen size and severe

and debilitating symptoms, caused improved quality of life, and that the IMbark results weighed

in favor of Janssen extending its licensing agreement. In truth, the data from the IMbark study

showed imetelstat was not effective in reducing spleen size or reducing severe symptoms for the

vast majority of patients, material facts that materially increased the risks attendant to the imetelstat

program, rather than derisking the imetelstat program.

        15.     Finally, during the Relevant Period, the Individual Defendants (defined herein)

negligently issued a materially false and misleading proxy statement urging stockholders to reelect

the Individual Defendants under false pretenses.

        16.     As a direct and proximate result of the Individual Defendants’ breaches of fiduciary

duties and other misconduct, Geron has sustained damages as described below.

                                  JURISDICTION AND VENUE

        17.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act (15 U.S.C.

§ 78n), and SEC Rule 14a-9 (17 C.F.R. § 240.14a-9) promulgated thereunder.


                                                   5
   Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 6 of 54 PageID #: 6




       18.     Plaintiff’s claims also raise a federal question pertaining to the claims made in the

Securities Class Action based on violations of the Exchange Act.

       19.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

       20.     This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

       21.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because

Geron is incorporated in this District. In addition, the defendants have conducted business in this

District, and the defendants’ actions have had an effect in this District.

                                             PARTIES

       22.     Plaintiff is a current stockholder of Geron common stock.              Plaintiff has

continuously held Geron common stock at least since December 2004.

       23.     Geron is a Delaware corporation with its principal executive offices located at 919

East Hillsdale Boulevard, Suite 250, Foster City, CA 94404. Geron’s Common stock shares trade

on the Nasdaq Global Select market (“NasdaqGS”) under the ticker symbol “GERN.”

       24.     Defendant Scarlett has served as CEO and a director of the Company since

September 2011, as President since January 2012, and as Chairman of the Board since December

2018. According to the Company’s filings with the SEC, defendant Scarlett received $1,941,135

in compensation in 2019.

       25.     Defendant Karin Eastham (“Eastham”) has served as a director of the Company

since March 2009. She is Chair of the Audit Committee and a member of the Compensation

Committee. According to the Company’s filings with the SEC, defendant Eastham received

$169,412 in compensation in 2019.




                                                  6
  Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 7 of 54 PageID #: 7




       26.    Defendant V. Bryan Lawlis (“Lawlis”) has served as a director of the Company

since March 2012. He is a member of the Audit Committee and Compensation Committee.

According to the Company’s filings with the SEC, defendant Lawlis received $131,912 in

compensation in 2019.

       27.    Defendant Susan M. Molineaux (“Molineaux”) has served as a director of the

Company since September 2012. According to the Company’s filings with the SEC, defendant

Molineaux received $121,912 in compensation in 2019.

       28.    Defendant Robert J. Spiegel (“Spiegel”) has served as a director of the Company

since May 2010. He is Chair of the Compensation Committee. According to the Company’s

filings with the SEC, defendant Spiegel received $126,912 in compensation in 2019.

       29.    Defendant Daniel M. Bradbury (“Bradbury”) served as a director of the Company

from September 2012 to June 2019. He was a member of the Audit Committee during the Relevant

Period. According to the Company’s filings with the SEC, defendant Bradbury received $26,044

in compensation in 2019.

       30.    Defendant Hoyoung Huh (“Huh”) served as a director of the Company from

September 2011 to December 2018. According to the Company’s filings with the SEC, defendant

Huh received $245,357 in compensation in 2018.

       31.    Defendants Eastham, Lawlis, and Bradbury are sometimes referred to herein as the

“Audit Committee Defendants.”

       32.    Defendants Scarlett, Eastham, Lawlis, Molineaux, Spiegel, Bradbury, and Huh are

sometimes referred to herein as the “Individual Defendants.”

                     DUTIES OF THE INDIVIDUAL DEFENDANTS

       33.    By reason of their positions as officers and/or directors of the Company and because

of their ability to control the corporate affairs and business of the Company, the Individual


                                               7
   Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 8 of 54 PageID #: 8




Defendants owed the Company and its stockholders fiduciary obligations of good faith, trust,

loyalty, and due care, and were and are required to use their best efforts to control and manage the

Company in a fair, just, honest, and equitable manner. The Individual Defendants were and are

required to act in furtherance of the best interests of the Company and its stockholders so as to

benefit all stockholders equally and not in furtherance of their personal interest or benefit. Each

director and officer of the Company owes to the Company and its stockholders the fiduciary duty

to exercise good faith and diligence in the administration of the affairs of the Company and in the

use and preservation of its property and assets, and the highest obligations of fair dealing.

       34.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of the Company, were able to and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein.

       35.     In addition, as officers and/or directors of a publicly-held company, the Individual

Defendants have a duty to promptly disseminate accurate and truthful information with regard to

the Company’s operations, performance, management, projections, and forecasts so that the

market price of the Company’s stock will be based on truthful and accurate information.

       36.     To discharge their duties, the officers and directors of Geron were required to

exercise reasonable and prudent supervision over the management, policies, practices, and controls

of the Company. By virtue of such duties, the officers and directors of Geron were required to,

among other things:

       a.      ensure that the Company complied with its legal obligations and requirements,

               including acting only within the scope of its legal authority and disseminating

               truthful and accurate statements to the SEC and the investing public;




                                                 8
  Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 9 of 54 PageID #: 9




       b.      conduct the affairs of the Company in a lawful, efficient, business-like manner so

               as to make it possible to provide the highest quality performance of its business, to

               avoid wasting the Company’s assets, and to maximize the value of the Company’s

               stock;

       c.      properly and accurately guide investors and analysts as to the true financial

               condition of the Company at any given time, including making accurate statements

               about the Company’s financial results and prospects, and ensuring that the

               Company maintained an adequate system of financial controls such that the

               Company’s financial reporting would be true and accurate at all times;

       d.      remain informed as to how the Company conducted its operations, and, upon

               receipt of notice or information of imprudent or unsound conditions or practices,

               make reasonable inquiry in connection therewith, and take steps to correct such

               conditions or practices and make such disclosures as necessary to comply with

               federal and state securities laws; and

       e.      ensure that the Company was operated in a diligent, honest, and prudent manner in

               compliance with all applicable federal, state, and local laws, rules, and regulations.

       37.     Each of the Individual Defendants, as an executive officer and/or director, owed to

the Company and to its stockholders the fiduciary duties of loyalty, good faith, and candor in the

management and administration of the affairs of the Company, as well as in the use and

preservation of its property and assets. The conduct of the Individual Defendants complained of

herein involves a knowing and culpable violation of their obligations as directors and officers of

the Company, the absence of good faith on their part, and a reckless disregard for their duties to




                                                 9
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 10 of 54 PageID #: 10




the Company and its stockholders that the Individual Defendants were aware or should have been

aware posed a risk of serious injury to the Company.

       38.     According to the Company’s Corporate Governance Guidelines, the Board

members, and therefore the Individual Defendants, are required “to perform his or her duties in

good faith, in a manner he or she reasonably believes to be in the best interests of the Company

and its stockholders, and with such care, including reasonable inquiry, skill and diligence, as a

person of ordinary prudence would use under similar circumstances.”

       39.     The Company also maintains a Code of Business Conduct (the “Code”). The Code

sets forth legal and ethical standards of conduct for directors, officers, employees, and consultants

of Geron and its subsidiaries.

       40.     According to the Code, the employees and directors of Geron are responsible for

helping Geron maintain its good reputation and the trust and confidence of its stockholders, its

employees, the public, and those with whom Geron does business.

       41.     Pursuant to the Code:

       COMPLIANCE WITH LAW

       Geron and its employees are subject to various Federal and state laws and
       regulations. Some of them apply to everyone or to all companies; others apply to
       us because the Company issues publicly traded securities, or because we are
       developing therapeutic products, or because we use potentially hazardous
       substances in our operations. Regardless of the source of the law or regulation,
       everyone at Geron is obligated to comply at all times and in all respects with all
       applicable laws and regulations.

                                          *      *       *

       Insider Trading and Fair Disclosure

       Employees at Geron are likely to possess information about the Company (or about
       another company) that is not known to the general public and that is “material:”
       that is, if it were known to a reasonable investor it could affect the investor’s
       decision to buy, sell or hold the Company’s stock. Federal and state laws prohibit
       trading in Geron stock or other securities while in the possession of material,


                                                 10
Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 11 of 54 PageID #: 11




    nonpublic information about the company whose stock is being traded. They also
    prohibit “tipping” other people about such information so that they can trade, and
    selective disclosure of such information on behalf of the Company. Geron
    employees must comply strictly with these prohibitions. Geron’s Insider Trading
    Policy provides more details about the policy and procedures for trading Geron
    stock.

    Accounting and Disclosure Controls

    Federal law obligates Geron to disclose certain information about its activities in
    reports filed with the Securities and Exchange Commission (the SEC). Those
    reports, which may include the Company’s financial statements, must be complete
    and accurate. Under the direction of the Chief Executive Officer (CEO) and Chief
    Financial Officer (CFO), the Company has designed a set of internal controls and
    disclosure controls to ensure that all material information about the Company is
    reported to the appropriate Company officers so that it can be reflected, if
    appropriate, in the Company’s SEC filings, and that all our financial reports are
    complete, accurate, and reliable. All Geron employees must comply with those
    internal controls and disclosure controls and with the requirements of applicable
    accounting and auditing standards. That includes promptly reporting to his/her
    supervisor any significant event or occurrence (whether positive or negative) that
    arises in the course of the employee’s work. It also includes reporting immediately
    to the Controller, the CFO or the CEO any actual or suspected breaches or
    violations of the Company’s internal controls or any actual or suspected fraudulent
    or questionable transactions or occurrences (e.g., embezzlement, forgery or
    alteration of checks and other documents, theft, misappropriation or conversion to
    personal use of Company assets, and falsification of records). Employees are also
    encouraged to bring to the attention of any Company officer any changes that may
    improve the Company’s system of internal controls or disclosure controls.

                                      *      *       *

    Federal Regulations

    The Company’s product candidates and operations are subject to extensive and
    rigorous regulation by the U.S. Food and Drug Administration (the FDA). The
    FDA regulates many areas of the Company’s operations, including the research,
    preclinical and clinical testing, and development of our drug products; the
    submission of data and other information to support FDA approval; the
    manufacturing, testing, storage and labeling of our drug products; and the
    promotion, distribution, and sale of drug products (including the provision of drug
    samples to physicians); and the reporting of adverse events and other information
    to the FDA. The FDA also regulates the export of drug products manufactured in
    the U.S. to international markets. Violation of these laws and regulations can result
    in severe civil and criminal penalties, adverse publicity for the Company, total or
    partial suspension of production of a Company product, withdrawal of a Company



                                             11
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 12 of 54 PageID #: 12




       product from the market, and disciplinary action by the Company against the
       responsible individuals, up to and including termination of employment.

                                          *       *       *

       ETHICS ABOVE ALL

       Ethical conduct in all things is an essential part of Geron’s values. In addition to
       complying strictly with laws, regulations, and policies, all Geron employees are
       expected to behave ethically at all times. Everyone at Geron should take seriously
       any question of ethics of Company activities presented in good faith by any
       employee. No employee will be required to act in a way that he/she, after serious
       consideration and discussion, finds to be unethical.

       42.     The Company also maintains a document titled the Corporate Governance

Guidelines (the “Guidelines”) “to assist the Board in its exercise of its responsibilities and to serve

the interests of the Company and its stockholders.” The Guidelines state:

       Role of the Board and Management
       The Board’s primary role is to oversee Company management and to assure that
       the long-term interests of the stockholders are being served. The Board is
       responsible for the oversight of the Company’s business conducted by its
       employees, managers and officers under the direction of the CEO. Both the Board
       and management recognize that stockholders’ long-term interests are advanced by
       responsibly addressing the concern of other stakeholders essential to the
       Company’s success, including patients, physicians, clinicians, collaborators,
       scientists, employees, vendors, the communities in which Geron does business and
       the government.

       Director Responsibilities
       The business and affairs of the Company will be managed by or under the direction
       of the Board, including through one or more of its committees as set forth in the
       Bylaws and committee charters. Each director is expected to spend the time and
       effort necessary to properly discharge his or her responsibilities. These include (as
       applicable):

       1) overseeing the conduct of the Company’s business to evaluate whether the
       business is being properly managed;

       2) reviewing and, where appropriate, approving the Company’s major financial
       objectives, plans, strategies and actions;

       3) reviewing and approving long-term strategic and business plans and overseeing
       execution and evaluating results of such plans;




                                                  12
Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 13 of 54 PageID #: 13




    4) reviewing and, where appropriate, approving major changes in, and
    determinations of other major issues respecting the appropriate auditing and
    accounting principles and practices to be used in the preparation of the Company’s
    financial statements;

    5) reviewing and, where appropriate, approving major changes in, and
    determinations under, these Guidelines, the Code of Conduct and other Company
    policies;

    6) reviewing and, where appropriate, approving actions to be undertaken by the
    Company that would result in a material change in the financial structure or control
    of the Company, the acquisition or disposition of any business(es) or asset(s)
    material to the Company or the entry of the Company into any major new line of
    business;

    7) nominating directors, reviewing the structure and operation of the Board and
    overseeing effective corporate governance;

    8) reviewing the performance of the Chief Executive Officer and other members of
    management based on reports from the Compensation Committee;

    9) overseeing the assessment of major risks facing the Company and reviewing
    options for their mitigation;

    10) reviewing information provided by the Company’s Chief Executive Officer,
    Chief Financial Officer and General Counsel (collectively, the “Disclosure
    Committee”), regarding all material communications (oral and written) with the
    United States Food and Drug Administration (“FDA”);

    11) reviewing annual reports provided by the Disclosure Committee, directly or
    through the Audit Committee, regarding the effectiveness of the Company’s
    internal control over financial reporting and, if appropriate, the Company’s
    disclosure procedures for drug approval, manufacturing and marketing efforts, and
    material communications between the Company and regulatory agencies;

    12) planning for succession with respect to the position of the Chief Executive
    Officer and monitoring management’s succession planning for other key executive
    officers;

    13) receiving quarterly reports from Company representative(s) sitting on the
    steering or similar committees created by the Company in connection with any
    material collaboration and license agreements;

    14) meeting with the Company’s General Counsel at least annually to receive a
    report on the status of every whistleblower complaint, if any, received by the
    Company in the preceding 12-month period; and




                                            13
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 14 of 54 PageID #: 14




       15) ensuring that the Company’s business is conducted with the highest standards
       of ethical conduct and in conformity with applicable laws and regulations.

       43.     In addition, the Company’s Audit Committee is specifically tasked with the Board’s

oversight responsibilities.   The conduct of the Audit Committee is governed by the Audit

Committee Charter (the “Charter”).

       44.     Pursuant to the Charter:

       The purpose of the Committee is to oversee the accounting and financial reporting
       processes of the Company and the audits of the financial statements of the
       Company. The Committee shall assist the Board in fulfilling its oversight
       responsibilities relating to: the integrity of the financial statements and other
       information provided by the Company to any governmental body, regulatory
       agency or the public; the Company’s system of internal controls regarding finance,
       accounting, financial reporting and public disclosures; the Company’s compliance
       with legal and regulatory requirements and with ethics policies that management
       and the Board have established; the qualifications, independence, and performance
       of the Company’s independent registered public accounting firm (“independent
       auditors”); and the Company’s accounting and financial reporting processes
       generally. Consistent with this function, the Committee encourages continuous
       improvement of the Company’s policies, procedures and practices at all levels.

                                          *      *       *

       IV. RESPONSIBILITIES AND DUTIES

       In carrying out its responsibilities, the Committee will endeavor to ensure that the
       corporate accounting and reporting practices of the Company are in accordance
       with all regulatory requirements and are of the highest quality. While the
       Committee has the responsibilities and powers set forth in this Charter, it is not the
       duty of the Committee to plan or conduct audits or to determine that the Company’s
       financial statements are complete and accurate and are in accordance with generally
       accepted accounting principles. Management is responsible for the preparation,
       presentation, and integrity of the Company’s financial statements and for the
       appropriateness of the accounting principles and reporting policies that are used by
       the Company. The independent auditors are responsible for auditing the
       Company’s annual financial statements and for reviewing the Company’s
       unaudited interim financial statements. Absent actual knowledge to the contrary,
       each member of the Committee shall be entitled to rely on the integrity of those
       persons within the Company and of the professionals and experts (including the
       Company’s independent auditors) from which the Committee receives information
       and, absent actual knowledge to the contrary, the accuracy of the financial and other
       information provided to the Committee by such persons, professionals or experts.



                                                14
Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 15 of 54 PageID #: 15




    Further, auditing literature, particularly Public Company Accounting Oversight
    Board (“PCAOB”) AU Section 722, “Interim Financial Statements”, defines the
    term “review” to include a particular set of required procedures to be undertaken
    by independent auditors. The members of the Committee are not independent
    auditors, and the term “review” as used in this Charter is not intended to have the
    meaning set forth in PCAOB AU Section 722 and should not be interpreted to
    suggest that the Committee members can or should follow the procedures required
    of independent auditors performing reviews of financial statements.

    In discharging its oversight role, the Committee is empowered to investigate any
    matter brought to its attention that is within the scope of the powers and
    responsibilities delegated to the Committee, with full access to all books, records,
    facilities, and personnel of the Company and the authority to obtain advice from
    and engage independent counsel, accounting and other advisers, as it determines
    necessary to carry out its duties. The Committee shall have the appropriate
    financial resources and authority to retain any independent counsel, experts or
    advisors (accounting, financial or otherwise) that the Committee believes to be
    necessary or appropriate. The Committee may also utilize the services of the
    Company’s in-house legal counsel or other advisors to the Company.

    The Company shall provide for appropriate funding, as determined by the
    Committee, for payment of (i) compensation to any independent auditors engaged
    for the purpose of preparing or issuing an audit report or performing other audit,
    review or attest services for the Company, (ii) compensation to any advisors
    employed by the Committee that it determines are necessary to carry out its duties
    and (iii) ordinary administrative expenses of the Committee that are necessary or
    appropriate in carrying out its duties.

    The following shall be the principal duties and responsibilities of the Committee.
    These are set forth as a guide with the understanding that the Committee and/or the
    Board may supplement them as appropriate from time to time consistent with the
    Company’s Bylaws.

    1. Oversight of Independent Auditors. The Committee shall:

           A. In connection with each annual audit, discuss with the independent
           auditors and management, the overall scope of the audit, procedures to be
           followed and staffing of the audit.

           B. Be directly responsible for the appointment, compensation, retention and
           oversight of the work of the independent auditors (including resolution of
           any disagreements between management and the independent auditors
           regarding financial reporting) for the purpose of preparing or issuing an
           audit report or related work or performing other audit, review or attestation
           services for the Company, and the independent auditors shall report directly
           to the Committee.



                                            15
Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 16 of 54 PageID #: 16




          C. Approve, in advance, all audit and non-audit services to be performed by
          the independent auditors. The Company shall not engage the independent
          auditors to perform the specific non-audit services proscribed by law or
          regulation. The Committee may delegate preapproval authority to a
          member of the Committee, provided that any decisions made by the
          delegate must be presented to the full Committee at its next scheduled
          meeting. Committee pre-approval of audit and non-audit services will not
          be required if the engagement for the services is entered into pursuant to
          pre-approval policies and procedures established by the Committee
          regarding the Company’s engagement of the independent auditors, provided
          the policies and procedures are detailed as to the particular service, the
          Committee is informed of each service provided and such policies and
          procedures do not include delegation of the Committee’s responsibilities
          under the Exchange Act to the Company’s management. If the Committee
          elects to establish pre-approval policies and procedures regarding non-audit
          services, the Committee must be informed of each non-audit service
          provided by the independent auditors. Committee pre-approval of non-audit
          services (other than review and attest services) also will not be required if
          such services fall within available exceptions established by the SEC.

          D. At least annually, review the independence and quality control
          procedures of the independent auditors and the experience and
          qualifications of the senior personnel of the independent auditors that are
          providing audit services to the Company. In conducting its review:

                 (i) The Committee shall obtain and review a report prepared by the
                 independent auditors describing (a) the internal quality control
                 procedures of the independent auditors’ firm and (b) any material
                 issues raised by the most recent internal quality control review or
                 peer review of the firm, or by any inquiry or investigation by
                 governmental or professional authorities, within the preceding five
                 (5) years, respecting one (1) or more independent audits carried out
                 by the firm, and any steps taken to deal with any such issues.

                 (ii) The Committee shall ensure that the independent auditors
                 prepare and deliver, at least annually, a written statement delineating
                 all relationships between the independent auditors and the
                 Company, consistent with PCAOB Rule 3526, “Communications
                 with Audit Committees Concerning Independence.”                    The
                 Committee shall actively engage in a dialogue with the independent
                 auditors with respect to any disclosed relationships or services that,
                 in the view of the Committee, may impact the objectivity and
                 independence of the independent auditors. If the Committee
                 determines that further inquiry is advisable, the Committee shall
                 take appropriate action in response to the independent auditors’
                 report to satisfy itself of the independent auditors’ independence.



                                           16
Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 17 of 54 PageID #: 17




                  (iii)The Committee shall confirm with the independent auditors that
                  the independent auditors are in compliance with the partner rotation
                  requirements established by the SEC.

                  (iv) The Committee shall monitor whether the independent auditors’
                  independence is maintained, including by reviewing the non-audit
                  services provided to the Company by the independent auditors.
                  Prohibited services under Section 10A(g) of the Exchange Act
                  include: (a) bookkeeping or other services related to the accounting
                  records or financial statements of the Company; (b) financial
                  information systems design and implementation; (c) appraisal or
                  valuation services, proving fairness opinions or preparing
                  contribution-in-kind reports; (d) actuarial services; (e) internal audit
                  outsourcing services; (f) management functions or human resources;
                  (g) broker or dealer, investment adviser or investment banking
                  services; (h) legal services and expert services unrelated to the audit;
                  and (i) any other service that the PCAOB prohibits through
                  regulation.

           E. At least annually, discuss with the independent auditors the matters
           required to be discussed by Auditing Standard No. 16, Communications
           with Audit Committees, as adopted by the PCAOB (including any successor
           rule adopted by the PCAOB).

           F. Set clear policies, in compliance with SEC regulations and NASDAQ
           Stock Market rules, for the Company’s employment of employees or former
           employees of the independent auditors.

    2. Review of Financial Statements. The Committee shall:

           A. Review and discuss with the Disclosure Committee, prior to
           dissemination to the public, the Company’s Forms 10-K, Forms 10-Q,
           earnings press releases, any earnings guidance provided to analysts and
           rating agencies, and other reports or financial information submitted to any
           governmental body or the public in connection with such financial
           information, including any certification, report, opinion, or review rendered
           by the independent auditors.

           B. Review with the Disclosure Committee and the independent auditors the
           financial statements and disclosures under Management’s Discussion and
           Analysis of Financial Condition and Results of Operations to be included in
           the Company’s Forms 10-K or Forms 10-Q prior to filing, including their
           judgment about the quality and acceptability of the Company’s accounting
           principles, the reasonableness of significant judgments, the clarity of the
           disclosures, and the degree of aggressiveness or conservatism of the
           Company’s accounting principles and underlying estimates. The Committee
           shall discuss the results of the annual audit or quarterly review and any other


                                             17
Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 18 of 54 PageID #: 18




           matters required to be communicated to the Committee by the independent
           auditors under generally accepted auditing standards.

           C. Following completion of the annual audit, review separately with
           management and with the independent auditors any significant difficulties
           encountered during the audit, including any restrictions experienced by the
           independent auditors on the scope of their work or access to required
           information. Among the items that the Committee should consider
           reviewing with the independent auditors are: (i) any accounting adjustments
           that were noted or proposed by the independent auditors but were “passed”
           (as immaterial or otherwise); (ii) any communications between the
           independent auditors’ audit team and their national office with respect to
           auditing or accounting issues encountered during the audit; and (iii) any
           “management” or “internal control” letter issued, or proposed to be issued,
           by the independent auditors to the Company. The Committee shall obtain
           assurances from the independent auditors that Section 10A(b) of the
           Exchange Act has not been implicated.

           D. Review any significant disagreement among management, non-
           management employees and the independent auditors in connection with
           the preparation of the Company’s annual financial statements and any
           related disclosures.

           E. Receive quarterly updates regarding the Company’s financial
           performance as compared to the Company’s published financial guidance,
           if any, including the recommendations, if any, of senior management
           regarding whether the Company should revise its published guidance or
           release preliminary financial results.

           F. Based on (i) the review and discussion referred to in paragraph 2(B)
           above, (ii) the disclosure received from the independent auditors regarding
           its independence and discussions with the independent auditors regarding
           such independence pursuant to paragraph 1(D)(ii) above, and (iii) the
           discussions with the independent auditors pursuant to paragraph 1(E) above,
           determine whether to recommend to the Board that the audited financial
           statements be included in the Company’s Annual Report on Form 10-K for
           the fiscal year subject to the audit.

           G. Prepare a report to be included in the Company’s annual proxy statement,
           as required by SEC regulations.

           H. Report the results of the annual audit to the Board. If requested by the
           Board, invite the independent auditors to attend the full Board meeting to
           assist in reporting the results of the annual audit or to answer other Board
           members’ questions.

    3. Review of Disclosure Matters. The Committee shall:


                                           18
Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 19 of 54 PageID #: 19




          A. Review processes utilized by the Company’s management for annually
          assessing effectiveness of Disclosure Controls and Procedures (as defined
          in Rule 13a-15(e) of the Exchange Act) and performing quarterly
          certifications required for the Company’s Forms 10-Q and Forms 10-K.
          Review management’s report on its assessment of the effectiveness of
          internal control over financial reporting as of the end of each fiscal year and
          the independent auditors’ report on the effectiveness of internal control over
          financial reporting.

          B. Receive and review any disclosures from the Company’s Chief
          Executive Officer and Chief Financial Officer made in connection with the
          certification of the Company’s quarterly and annual reports filed with the
          SEC regarding: (1) significant deficiencies and material weaknesses in the
          design or operation of internal control over financial reporting which are
          reasonably likely to adversely affect the Company’s ability to record,
          process, summarize, and report financial data; and (2) any fraud, whether or
          not material, that involves management or other employees who have a
          significant role in the Company’s internal control over financial reporting.

          C. Review any significant changes in internal control over financial
          reporting.

          D. Review any material weaknesses or significant deficiencies identified in
          internal control over financial reporting, as well as any remediation plan to
          address internal control deficiencies.

          E. Receive an annual report from the Company’s Chief Executive Officer,
          Chief Financial Officer and General Counsel (collectively, the “Disclosure
          Committee”) regarding the effectiveness of the Company’s internal control
          over financial reporting and, if appropriate, the Company’s disclosure
          procedures for drug approval, manufacturing and marketing efforts, and
          material communications between the Company and regulatory agencies.

          F. Meet, at least on a quarterly basis, with a member of the Disclosure
          Committee about concerns, if any, of the Disclosure Committee regarding
          disclosure issues, including whether there were any post-disclosure
          corrections to public statements that were recommended by the Disclosure
          Committee, the action taken in regard to each such recommendation, and
          for each recommendation not followed, the reason(s) for not following that
          recommendation.

    4. Establishment and Oversight of Policies, Programs and Procedures.             The
    Committee shall:

          A. Review with the Company’s management and the independent auditors
          the results of their periodic analysis of significant financial reporting issues




                                            19
Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 20 of 54 PageID #: 20




          and practices, including changes in accounting principles and disclosure
          practices.

          B. Discuss with the independent auditors the regular reports that such
          auditors are required to make to the Committee regarding (i) the critical
          policies and practices of the Company, (ii) the alternative treatments of
          financial information that are within generally accepted accounting
          principles and that the independent auditors have discussed with
          management, and (iii) all other material written communications between
          the independent auditors and management of the Company, such as any
          management letter, management representation letter, reports on
          observations and recommendations on internal controls, independent
          auditors’ engagement letter, independent auditors’ independence letter,
          schedule of unadjusted audit differences and a listing of adjustments and
          reclassifications not recorded, if any.

          C. Consider and approve, if appropriate, significant changes to the
          Company’s auditing and accounting principles and practices as suggested
          by the independent auditors, management, or non-management employees.

          D. At an appropriate time after the Committee has approved changes or
          improvements in financial or accounting practice, review with the
          independent auditors and management the extent to which such changes or
          improvements have been implemented.

          E. To the extent not already established, establish regular and separate
          systems of reporting to the Committee by each of management and the
          independent auditors regarding significant judgments made in the
          preparation of the Company’s financial statements and the view of each as
          to the appropriateness of such judgments.

          F. Review with the independent auditors and management the adequacy and
          effectiveness of the Company’s accounting, financial, disclosure and other
          controls, both internal and external, of the Company, including the
          Company’s legal and ethical compliance programs, and elicit any
          recommendations for the improvement of such internal control procedures
          or particular areas where new or more detailed controls or procedures are
          desirable. Particular emphasis should be given to the adequacy of such
          internal controls to expose any payments, transactions, or procedures that
          might be deemed illegal or otherwise improper.

          G. Discuss with management the Company’s policies and procedures with
          respect to risk assessment and risk management. The Committee shall
          consult with the General Counsel, or other senior-level Company
          employees, regarding the effectiveness of financial risk management,
          including significant financial and operation risk exposures and the actions
          management has taken to limit, monitor or control such exposures.


                                          20
Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 21 of 54 PageID #: 21




    5. Review of Compliance. The Committee shall:

          A. Establish, review periodically and update as necessary a Code of
          Conduct (the “Code”), ensure that management has established a system to
          enforce the Code, and review management’s monitoring of the Company’s
          compliance with the Code.

          B. Review the adequacy of and management’s implementation and
          monitoring of the Company’s internal control over financial reporting to
          ensure that the Company’s financial statements, reports and other financial
          information disseminated to governmental organizations and the public
          satisfy legal requirements.

          C. Oversee the Company's Insider Trading Compliance Program (the
          “Program”), including approval of any material updates to the Program, and
          receive a report, at least once annually, from the Company’s General
          Counsel as the Company’s Insider Trading Compliance Officer (the
          “Compliance Officer”) regarding his or her monitoring of the Program. The
          Committee shall have regular access to the Compliance Officer, including
          the opportunity to meet with the Compliance Officer outside of the presence
          of any other senior executives of the Company.

          D. Request assurances from management that the Company’s foreign
          subsidiaries and foreign affiliated entities, if any, are in conformity with
          applicable legal requirements, including disclosure of related party
          transactions.

          E. Review with the Company’s General Counsel any legal matters that
          could have a significant impact on the Company’s financial statements.

          F. Establish procedures for the receipt, retention and treatment of
          complaints received by the Company regarding accounting, internal
          accounting controls, or auditing matters and for the confidential,
          anonymous submission by employees of the Company of concerns
          regarding questionable accounting or auditing matters.

          In addition to the foregoing, the Chair of the Audit Committee will receive
          reports from an independent, third-party supplier engaged by the Company
          to provide and monitor a whistle-blower hot line for Company employees
          and consultants, such as the NASDAQ OMX Whistleblower Hotline. The
          Chair will ensure that all anonymous whistleblower complaints are
          provided to the Company’s General Counsel and that all complaints are
          completely and fully investigated by the Company’s General Counsel, or a
          designated senior-level employee, in consultation with the Audit
          Committee. The Company’s General Counsel must report to the entire
          Board at least annually on the status of every whistleblower complaint, if
          any, received by the Company in the preceding 12-month period.


                                          21
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 22 of 54 PageID #: 22




                G. Discuss with management any correspondence from or with regulators
                or governmental agencies, any employee complaints or any published
                reports that raise material issues regarding the Company’s financial
                statements, financial reporting process or accounting policies.

       45.      In violation of the Charter, and their general duties as members of the Audit

Committee, the Audit Committee Defendants conducted little, if any, oversight of the Company’s

internal controls or the Company’s compliance with legal and regulatory requirements, resulting

in materially false and misleading statements regarding the Company’s business, operational, and

compliance policies, and consciously disregarded their duties to monitor such controls over

reporting. The Audit Committee Defendants’ complete failure to perform their duties in good faith

resulted in false misrepresentations to the SEC, the investing public, and the Company’s

stockholders.

       46.      Each of the Individual Defendants further owed to Geron and its stockholders the

duty of loyalty, which requires that each favor Geron’s interest and that of its stockholders over

their own while conducting the affairs of the Company and refrain from using their position,

influence, or knowledge of the affairs of the Company to gain a personal advantage.

          CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       47.      In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the truth and further aided and abetted and assisted each other in

breaching their respective duties.

       48.      The purpose and effect of the conspiracy, common enterprise, and common course

of conduct was, among other things, to: (i) facilitate and disguise the Individual Defendants’

violations of law, including breaches of fiduciary duty and insider trading; (ii) conceal adverse



                                               22
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 23 of 54 PageID #: 23




information concerning the Company’s operations, financial condition, and future business

prospects; (iii) artificially inflate the Company’s stock price; and (iv) enhance the Individual

Defendants’ Company positions and their profits and power stemming from such positions.

       49.     The Individual Defendants accomplished their conspiracy, common enterprise, and

common course of conduct by causing the Company to purposefully or recklessly conceal material

facts, fail to correct such misrepresentations, and violate applicable laws. The actions described

herein occurred under the authority of the Board, thus each of the Individual Defendants who is a

director of Geron was a direct, necessary, and substantial participant in the conspiracy, common

enterprise, and common course of conduct complained of herein.

       50.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of wrongdoing, each of the Individual Defendants acted with actual or constructive

knowledge of the primary wrongdoing, substantially assisted in the accomplishment of that

wrongdoing, and was or should have been aware of his or her overall contribution to and

furtherance of the wrongdoing.

       51.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of Geron and was at all times acting within the course

and scope of such agency.

                              SUBSTANTIVE ALLEGATIONS

BACKGROUND OF THE COMPANY

       52.     Geron is a biotechnology company located in California that specializes in

developing and commercializing therapeutic products for cancer treatment that inhibit telomerase.

       53.     According to the Company’s website, Geron has no product candidates other than

imetelstat, and thus was and is entirely dependent on the success of imetelstat. To be successful,


                                               23
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 24 of 54 PageID #: 24




imetelstat needed FDA approval. FDA approval for a new drug is generally a twelve to fifteen-

year process with multiple stages, which are described below.

       54.     In 2014, imetelstat was in early-phase clinical development for treatment of patients

with MF and MDS. MF is considered to be a chronic leukemia — a cancer that affects the blood-

forming tissues in the body. More specifically, MF is an uncommon type of bone marrow cancer

that disrupts the body’s normal production of blood cells. MF causes extensive scarring in bone

marrow, leading to severe anemia that can cause weakness and fatigue. It can also cause a low

number of blood-clotting cells called platelets, which increases the risk of bleeding. MF often

causes an enlarged spleen.

       55.     Geron claimed that results of an early clinical “Pilot Study” indicated that imetelstat

had a disease-modifying activity in MF, produced “unprecedented and durable” remissions, and

provided evidence that imetelstat’s mechanism of action inhibited growth of cancer cells. Geron

reported that in the pilot study, 39% of patients with enlarged spleens achieved reduction in spleen

size of ≥50%, and symptom responses of ≥50% were observed in 77% of patients. Furthermore,

over 23% experienced a complete or partial remission, and another 18% experienced clinical

improvements, for a total of over 40% of patients experiencing a complete or partial remission, or

clinical improvement.     Defendant Scarlett described these results as “unprecedented” and

“durable.”

THE JOINT DEVELOPMENT OF IMETELSTAT

       56.     On November 13, 2014, Geron and Janssen entered into a CLA, which granted

Janssen the exclusive rights to develop and commercialize imetelstat worldwide for all indications

in oncology, including MF. In return, Geron received a $35 million upfront payment from Janssen




                                                 24
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 25 of 54 PageID #: 25




and was entitled for millions more, up to $900 million, for achieving certain developmental,

regulatory, and commercial milestones and royalties from the sale of imetelstat.

         57.    Geron and Janssen planned to develop imetelstat under a joint plan, which was

expected to include Phase 2 studies in MF and MDS as initial studies, and additional registration

studies in MF and MDS, and exploratory Phase 2 studies for treatment of related diseases. The

joint plan aimed to begin the Phase 2 study in MF in mid-2015, followed by a Phase 2/3 MDS

study.    Under the CLA, Geron and Janssen were to split the development cost equally.

Nevertheless, the CLA allowed Janssen to withdraw from jointly developing imetelstat with Geron

if the development was not progressing as planned.

         58.    Geron and its senior management, including Defendant Scarlett, were well aware

of the joint development process of imetelstat. For example, Geron’s Executive Vice President of

Development and Technical Operations and Executive Vice President of Business Development

and Portfolio & Alliance Management, who reported directly to defendant Scarlett, were members

of the JSC. Together with Janssen’s senior executives, the JSC oversaw and monitored the IMbark

study, and reviewed the results and progress, including periodic reviews of IMbark study data,

clinical, regulatory and safety data, results, reports, and analyses.

         59.    As stated by defendant Scarlett on a conference call held with investors and analysts

on November 14, 2014, the Company would play “an active role on the joint steering committee

and other governance committees” and would participate “fully in the governance of the joint

development and commercial efforts of the partnership over the life of the agreement.” Defendant

Scarlett also stated during a March 3, 2015 conference call with investors and analysts that:

         [W]e plan to continue to diligently represent Geron’s interest on the imetelstat joint
         development committee and joint steering committee, as well as on several joint
         working groups, operating under the purview of the joint steering committee.
         Through these committees, our responsibilities [] include active review and



                                                  25
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 26 of 54 PageID #: 26




        approval of all clinical studies, manufacturing plans and budgets, and leading the
        filing, prosecution, and maintenance of the imetelstat global patent portfolio. For
        example, work with Janssen is ongoing on the protocol for the new Phase II MF
        trial [IMbark].

        60.     Likewise, two years later, during a May 9, 2017 conference call held with investors

and analysts, defendant Scarlett further explained Geron’s role in the joint development process of

imetelstat, stating:

        So maybe I can help first by saying what does that Joint Steering Committee
        actually do, and the answer is that, that is the decision-making body that when we
        talk about things that have been decided. . . . the Joint Steering Committee which
        consists of senior Janssen executives and senior Geron executives . . . look at all
        the data and say yes, we agree. They usually are looking at the work of other
        subcommittees. They have multiple subcommittees that, if you will, report up to
        the Joint Steering Committee. . . . So anytime you see that the Joint Steering
        Committee has decided, determined, affirmed, whatever the words are, that means
        that Janssen is fully participated in that, fully agrees.

THE IMBARK PHASE 2 STUDY

        61.     On April 24, 2015, Janssen and Geron initiated the IMbark study for imelestat, a

Phase 2 “Study to Evaluate Activity of 2 Dose Levels of Imetelstat in Participants With

Intermediate-2 or High-Risk Myelofibrosis (MF) Previously Treated With Janus Kinase (JAK)

Inhibitor”. The IMbark study was designed to evaluate the activity of imetelstat in patients with

high-risk MF who have relapsed after, or did not respond to other, treatment (refractory), and to

evaluate the findings in the earlier pilot study. In July 2015, IMbark opened to patient enrollment.

        62.     IMbark’s co-primary efficacy endpoints measured whether imetelstat improved

patient quality of life and alleviated symptoms—whether spleen volume and other debilitating

symptoms were reduced. Spleen volume reduction is defined as the proportion of patients who

achieve ≥35% reduction in spleen volume from baseline at the week 24 visit, which could be

objectively measured by imaging scan. Total symptom reduction is defined as the proportion of




                                                26
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 27 of 54 PageID #: 27




patients who have ≥50% reduction in total symptom scores from baseline at the week 24 visit,

based on patient-reported severity of various symptoms associated with MF.

       63.     Spleen volume reduction and reduction in symptoms were chosen as primary

endpoints to measure the efficacy of imetelstat because they were used in connection with FDA

approval of Incyte Corporation’s Jakafi, which was the only FDA-approved drug for adults with

certain types of MF at the time. In the Phase 3 study data for Jakafi, 42% of patients achieved a

greater than 35% reduction in spleen volume (compared to 1% of patients in a control group taking

a placebo), and achieved high levels of statistical significance for improvement in severe and

debilitating symptoms. As described by defendant Scarlett during an April 10, 2017 conference

call with investors and analysts, Geron and Janssen “chose these endpoints because the only

precedent for regulatory approval in MF was developed from previous trials in which ruxolitinib

[(Jakafi)], a JAK inhibitor, was used to treat front-line MF patients.”

       64.     IMbark’s 14 secondary endpoints included complete remission or partial remission,

and clinical improvement. IMbark’s fifth secondary endpoint was overall survival. Overall

survival was not selected as a primary endpoint because IMbark, as a Phase 2 study, did not have

a control arm and overall survival may be unreliable due to variability in patient selection and

baseline patient conditions, and may overstate or understate treatment efficacy.

       65.     On September 12, 2016, during a conference call with analysts and investors,

defendant Scarlett provided an update on IMbark based on an interim review of IMbark data.

While defendant Scarlett declined to discuss specific data results, he described the data results as

showing “encouraging trends in the efficacy data” that “were observed.” In response to an analyst

question for details about the encouraging trends, defendant Scarlett responded:

       [W]e’re not talking about the specifics of any of these results in terms of, you know,
       various outcomes and so forth. We’ve always stated that we wouldn’t be doing



                                                 27
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 28 of 54 PageID #: 28




       that, we’d just be talking about outcomes of the trial. So, I don’t think I’m in a
       position to really make much more of a comment about that other than to say that
       obviously they were encouraging trends, you know, in progressing towards, you
       know, towards the assessment of the co-primary end points, [specifically] the
       symptoms reduction. But beyond that, I don’t think I would – I’m in a position to
       talk about that.

       66.     Because spleen volume reduction and total symptom scores were measured after

patients had been taking the drug for 24 weeks, and the last patient enrolled in IMbark in October

of 2016, the objective data regarding the co-primary endpoints for all patients enrolled in IMbark,

which showed that 90% of patients failed to experience a spleen volume reduction of ≥35%, 68%

failed to experience an improvement in severe, debilitating symptoms of ≥50%, and that there were

zero complete remissions, were available starting in or around April 2017.

       67.     On April 10, 2017, during a conference call with analysts and investors, Defendant

Scarlett discussed a second JSC internal review of IMbark data. Defendant Scarlett stated that the

JSC stated that “spleen volume response rate observed to date was less than that reported in

frontline MF patients treated in trials with other drugs” but did not disclose any IMbark data or the

material, adverse data results. Defendant Scarlett, instead, falsely stated that “activity within

multiple outcome measures was observed with imetelstat treatment, which suggests clinical benefit

in this relapsed or refractory MF population. These outcome measures included a range of spleen

volume reductions, decreases in total symptom scores and improvements in hematologic

parameters such as anemia and peripheral blood counts.”

       68.     In March 2018, the JSC conducted a third review of the IMbark data based on the

data as of January 2018, over 64 weeks after the last patient enrolled in IMbark. All of the patients

in the IMbark study had taken imetelstat so the results were not “blinded,” meaning that the JSC

members could see overall spleen volume reduction and total symptom scores for patients who

participated in IMbark. The March 2018 review was reported to defendant Scarlett.



                                                 28
    Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 29 of 54 PageID #: 29




        69.    The IMbark trial results indicated that imetelstat was not effective in treating MF

and that it did not have a disease modifying effect. Indeed, 90% of patients failed to experience a

spleen volume reduction of ≥35, and 68% had failed to experience a reduction in debilitating

symptoms of ≥50%. Further, just one patient experienced a partial response and there were zero

complete responses, for an overall response rate of just 1.7%, demonstrating that imetelstat did not

have a disease modifying effect in contrast to the results of the earlier pilot study.

        70.    The material, adverse results of IMbark based on the March 2018 review of the

study data would be reflected in the draft and final minutes of the JSC.

        71.    By April 2018, Janssen began conducting its primary analysis of the IMbark data.

The timing of Janssen’s decision whether to continue licensing imetelstat was determined by the

completion of the primary analysis of IMbark, which Geron expected by September 30, 2018.

THE INDIVIDUAL DEFENDANTS CAUSED             THE   COMPANY     TO ISSUE   MATERIALLY FALSE     AND
MISLEADING STATEMENTS

        72.    During the Relevant Period, the Individual Defendants made materially false and/or

misleading statements, as well as failed to disclose material adverse facts about the Company’s

business, operations, and prospects. Specifically, the Individual Defendants failed to disclose to

investors materially adverse information about the IMbark study. The Individual Defendants

intentionally obscured and omitted this information from investors.

        73.    On November 3, 2016, the Individual Defendants caused the Company to issue a

press release announcing the Company’s financial results for the quarter ended September 30,

2016 (“3Q16 Press Release”). The 3Q16 Press Release stated the following:

        In the third quarter of 2016, Janssen conducted planned internal reviews of initial
        data from IMbarkTM and IMergeTM,1 the ongoing clinical trials of imetelstat.


1
 IMerge is a two-part clinical trial of imetelstat in transfusion dependent patients with Low or
Intermediate-1 risk Myelodysplastic Syndrome, who have relapsed after or are refractory to prior

                                                   29
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 30 of 54 PageID #: 30




       IMbarkTM was designed to evaluate two dose levels of imetelstat (either 4.7 mg/kg
       or 9.4 mg/kg administered every three weeks) in approximately 200 patients
       (approximately 100 patients per dosing arm) with Intermediate-2 or High risk
       myelofibrosis (MF) who have relapsed after or are refractory to prior treatment with
       a JAK inhibitor. The co-primary efficacy endpoints for the trial are spleen response
       rate and symptom response rate at 24 weeks.

       Janssen’s review included data from 20 patients from each dosing arm who had
       been followed on the trial for at least 12 weeks. In this review, no new safety
       signals were identified and the safety profile was consistent with previous imetelstat
       clinical trials in hematologic myeloid malignancies. Activity in the 4.7 mg/kg
       dosing arm did not warrant further investigation of that dose, and this arm has been
       closed to new patient enrollment. In the 9.4 mg/kg dosing arm, even though at the
       week 12 data assessment an insufficient number of patients met the protocol
       defined interim criteria, this arm warranted further investigation because
       encouraging trends in the efficacy data were observed. New enrollment in the 9.4
       mg/kg arm has been suspended while the trial continues in order to obtain additional
       and more mature data that includes a longer follow-up of these patients at 24 weeks.

       Enrolled patients in both arms are permitted to continue to receive imetelstat.
       Janssen has submitted a protocol amendment to health authorities that includes
       allowing eligible patients in the 4.7 mg/kg dosing arm to increase their dose to 9.4
       mg/kg per investigator discretion.

       Second internal data reviews of additional and more mature data from both trials
       are planned by the end of the second quarter of 2017

       74.     On November 3, 2016, the Individual Defendants caused the Company to file a

Form 10-Q with the SEC for the quarter ended September 30, 2016 (“3Q16 10-Q”). The 3Q16

10-Q contained similar comments highlighting the Company’s CLA with Janssen, the IMbark trial,

and the primary endpoints of spleen response rate and total symptom score at 24 weeks. It also

confirmed that “A primary analysis of the co-primary efficacy endpoints in IMbark™ is specified

in the trial protocol to occur after all patients (planned to be approximately 100 enrolled and treated

patients on the 9.4 mg/kg dosing arm) have been followed for at least 24 weeks.”




treatment with an Erythropoiesis-Stimulating Agent. Plaintiff does not allege that the Individual
Defendants made any materially false or misleading statements regarding IMerge in this action.

                                                  30
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 31 of 54 PageID #: 31




       75.     On March 1, 2017, the Individual Defendants caused the Company to file a Form

10-K with the SEC for 2016 (“2016 10-K”), which was signed by all of the Individual Defendants.

The 2016 10-K contained similar comments highlighting the Company’s CLA with Janssen, the

IMbark trial, and the primary endpoints of spleen response rate and total symptom score at 24

weeks. The 2016 10-K did not disclose all of the IMbark study’s secondary endpoints, focusing

only on: (i) complete remission or partial remission rate; (ii) clinical improvement rate; (iii)

anemia; (iv) spleen and symptom responses; and (v) safety. The 2016 10-K also stated the

following, in relevant part:

       IMbark was initiated to assess the efficacy, safety and tolerability of two dose levels
       of single-agent imetelstat in patients with MF. The trial was originally designed to
       enroll approximately 200 patients, including approximately 100 patients per dosing
       arm, with DIPSS intermediate-2 or high risk MF who have relapsed after or are
       refractory to JAK inhibitor treatment. At the time of enrollment, patients must have
       measurable splenomegaly and symptoms of MF. Patients were assigned randomly
       on a blinded basis in a 1:1 ratio to one of two dosing arms—9.4 mg/kg every three
       weeks or 4.7 mg/kg every three weeks. Dose reductions for adverse events are
       allowed and follow protocol-specified algorithms.

       The co-primary efficacy endpoints for the trial are spleen response rate and
       symptom response rate. Spleen response rate is defined as the percentage of
       patients who achieve ³35% reduction in spleen volume from baseline at the Week
       24 visit, as measured by imaging scans and assessed at a central imaging facility
       and by an Independent Review Committee. Symptom response rate is defined as
       the percentage of patients who have ³50% reduction in Total Symptom Scores from
       baseline at the Week 24 visit, based on patient-reported outcomes on a modified
       Myelofibrosis Symptom Assessment Form version 2.0 electronic diary. Secondary
       efficacy endpoints include the number of patients achieving complete remission, or
       CR, or partial remission, or PR, clinical improvement, or CI, and anemia, spleen
       and symptom responses as assessed using the modified 2013 International Working
       Group for Myeloproliferative Neoplasms Research and Treatment, or IWG-MRT
       criteria, described in a 2013 Blood article. These secondary endpoints will be
       assessed at the time of the primary efficacy analysis. Exploratory endpoints include
       cytogenetic and molecular responses, as well as leukemia-free survival.

                                         *       *       *

       We expect Janssen to conduct a second internal data review to assess potential
       future development, if any, of imetelstat in MF, as well as to assess whether 9.4
       mg/kg is the appropriate starting dose and is sufficiently efficacious and safe for


                                                 31
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 32 of 54 PageID #: 32




       the IMbark patient population. In the first quarter of 2017, Janssen initiated the
       process for the second internal data review for IMbark, which will include
       comprehensive analyses encompassing safety, efficacy, pharmacokinetic and
       pharmacodynamic data, as well as other exploratory assessments, such as
       cytogenetic and molecular data, from patients enrolled in the 9.4 mg/kg dosing arm
       who have been followed for at least 24 weeks, consistent with the co-primary
       efficacy endpoints. Following the second internal review, we expect Janssen could
       decide to resume enrollment in the 9.4 mg/kg dosing arm, modify the trial, close
       the trial, discontinue development of imetelstat in MF, or terminate the
       Collaboration Agreement. We expect the outcomes from the second internal data
       reviews for both IMbark and IMerge, regulatory considerations and the totality of
       other program information, including the evolving treatment landscapes in MF and
       MDS, to inform Janssen's decisions regarding future development plans for
       imetelstat. We expect Janssen's decision-making regarding IMbark, the imetelstat
       program and the Collaboration Agreement to occur in the second quarter of 2017.
       Janssen's decisions regarding future development plans for imetelstat, if any, may
       be subject to subsequent regulatory feedback.

       The protocol-specified primary analysis of the co-primary efficacy endpoints in
       IMbark is planned to occur after all patients (i.e., planned to be approximately 100
       enrolled and treated patients on the 9.4 mg/kg dosing arm) have been followed for
       at least 24 weeks. Due to the current suspension of new patient enrollment in
       IMbark, the timing of the protocol-specified primary analysis for the trial is
       uncertain and may be substantially delayed due to numerous factors, including
       whether Janssen resumes patient enrollment in the trial, or may not occur at all if
       IMbark is terminated early based on preliminary data, safety concerns or for any
       other reason.

                                        *       *      *

       We have exclusively outlicensed imetelstat, which was our sole product candidate,
       to Janssen. We are wholly dependent upon our collaborative relationship with
       Janssen to further develop, manufacture and commercialize imetelstat. If Janssen
       fails to perform as required by the Collaboration Agreement or abandons the
       imetelstat program, the potential for us to generate future revenues from milestone
       payments and royalties from imetelstat would be significantly reduced, the
       development and/or commercialization of imetelstat could be terminated or
       substantially delayed, and our business would be severely harmed.

       76.    On May 9, 2017, the Individual Defendants caused the Company to issue a press

release announcing the Company’s financial results for the quarter ended March 31, 2017 (“1Q17

Press Release”). In the section titled “Recent Company Events,” the 1Q17 Press Release stated:




                                               32
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 33 of 54 PageID #: 33




      In April 2017, the second internal data reviews of IMerge and IMbark were
      completed. Based on these reviews, the Joint Steering Committee determined the
      following:

      ● Both trials continue unmodified, and patients remaining in the treatment phases
      may continue to receive imetelstat.

      ● The safety profile of imetelstat in both trials was consistent with prior clinical
      trials of imetelstat in hematologic malignancies, and no new safety signals were
      identified.

      ● For IMbark, the current results suggest clinical benefit and a potential overall
      survival benefit associated with imetelstat treatment in relapsed or refractory MF.
      Enrollment of new patients to the trial remains suspended because the total number
      of patients enrolled to date is adequate to assess longer-term outcome measures,
      including overall survival, when the data are fully matured.

      Geron expects further decisions by Janssen on the development of imetelstat will
      be informed by maturing efficacy and safety data from the trials, feedback from
      health authorities, and the totality of imetelstat program information, including an
      assessment of the evolving treatment landscapes in MDS and MF and the potential
      application of imetelstat in multiple hematologic malignancies.

      77.    On May 9, 2017, the Individual Defendants caused the Company to file a Form 10-

Q with the SEC for the quarter ended March 31, 2017 (“1Q17 10-Q”). The 1Q17 10-Q stated:

      In these relapsed or refractory MF patients treated in the 9.4 mg/kg dosing arm, the
      spleen volume response rate observed to date was less than that reported in front-
      line MF patients treated in trials with other drugs. However, activity within
      multiple outcome measures was observed with imetelstat treatment, which suggests
      potential clinical benefit in this relapsed or refractory MF patient population. These
      outcome measures included a range of spleen volume reductions, reductions in
      Total Symptoms Score, and improvements in hematologic parameters, such as
      anemia and peripheral blood counts. In addition, the data suggest there may be a
      potential overall survival benefit associated with imetelstat treatment in these
      patients.

                                        *       *       *

      During the next year, we expect Janssen to evaluate maturing efficacy and safety
      data from the IMbark trial, including an assessment of overall survival. We expect
      the longer-term data from the trial, potential regulatory feedback, the totality of
      imetelstat program information, including an assessment of the evolving treatment
      landscape in MF and the potential application of imetelstat in multiple hematologic
      malignancies, including MDS, will inform Janssen’s decision whether to continue
      development of imetelstat in relapsed or refractory MF.


                                               33
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 34 of 54 PageID #: 34




       78.     On August 9, 2017, the Individual Defendants caused the Company to file a Form

10-Q with the SEC for the six months and quarter ended June 30, 2017 (“2Q17 10-Q”). The 2Q17

10-Q stated:

       In April 2017, a second internal review of IMbark was completed, which included
       data from the approximately 100 patients who were enrolled in the trial, with each
       dosing arm analyzed separately. Based on this second internal data review, the JSC
       determined the following:

       ● The safety profile was consistent with prior clinical trials of imetelstat in
       hematologic malignancies, and no new safety signals were identified.

       ● The data support 9.4 mg/kg as an appropriate starting dose for the relapsed or
       refractory MF patient population.

       ● In these relapsed or refractory MF patients treated in the 9.4 mg/kg dosing arm,
       the spleen volume response rate observed to date was less than that reported in front-
       line MF patients treated in trials with other drugs. However, activity within multiple
       outcome measures was observed with imetelstat treatment, which suggests potential
       clinical benefit in this relapsed or refractory MF patient population. These outcome
       measures included a range of spleen volume reductions, reductions in Total
       Symptoms Score, and improvements in hematologic parameters, such as anemia and
       peripheral blood counts. In addition, the data suggest there may be a potential
       survival benefit associated with imetelstat treatment in these patients.

       The trial continues without any modifications, and patients remaining in the
       treatment phase may continue to receive imetelstat. Enrollment of new patients to
       the trial remains suspended because the total number of patients enrolled to date is
       adequate to perform the protocol-specified primary analysis. All safety and efficacy
       assessments will be conducted as planned in the protocol, which includes an
       assessment of a potential survival benefit associated with imetelstat treatment. To
       date, median overall survival has not yet been reached in either dosing arm. We also
       expect Janssen to perform an internal data review in the first quarter of 2018 to
       enable a potential protocol amendment to allow the long-term treatment and follow-
       up of patients, including for survival, beyond the current April 2018 per-protocol
       end-of-study date.

       79.     On November 1, 2017, the Individual Defendants caused the Company to file a

Form 10-Q with the SEC for the nine months and quarter ended September 30, 2017 (“3Q17 10-

Q”). The 3Q17 10-Q stated:

       In July 2017, the JSC agreed that the timing of the protocol-specified primary
       analysis for IMbark will begin upon the earlier of either a pre-specified number of


                                                34
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 35 of 54 PageID #: 35




       deaths occurring in the trial or the end of the third quarter of 2018. Following
       completion of this primary analysis, which would include an assessment of
       potential survival benefit associated with imetelstat treatment, we expect Janssen
       to notify us of its Continuation Decision. We believe that without an adequate
       survival benefit in relapsed or refractory MF, Janssen would decide to discontinue
       the imetelstat program and terminate the Collaboration Agreement, irrespective of
       any other data from IMbark or from Part 1 of IMerge. Further, the primary analysis
       may not occur at all if IMbark is terminated early based on preliminary or ongoing
       data assessments, safety concerns or for any other reason, or placed on clinical hold
       or suspended by a regulatory authority for an extended period of time, under which
       circumstances Janssen must instead notify us of its Continuation Decision by the
       date that is approximately 24 months after the initiation of IMerge.

       Separately, a data package, including information addressing the benefit-risk
       profile of imetelstat in relapsed or refractory MF, was submitted by Janssen in
       October 2017 in response to an information request received from the FDA for
       additional efficacy and safety data, including deaths, justifying continued treatment
       of patients enrolled in IMbark, and related interactions between Janssen and the
       FDA are ongoing.

                                         *      *       *

       In addition to an assessment of potential survival benefit in relapsed or refractory
       MF, we expect continuing data from IMbark, including the internal data review
       expected in the first quarter of 2018, the protocol-specified primary analysis for
       IMbark, ongoing regulatory feedback, the totality of imetelstat program
       information, including an assessment of the evolving treatment landscape in MF
       and the potential application of imetelstat in multiple hematologic malignancies,
       including MDS, will inform Janssen’s decision whether to continue development
       of imetelstat. Further delay in the timing of the Continuation Decision, or a
       negative Continuation Decision, which would result in termination of the
       Collaboration Agreement by Janssen, could increase our development costs and
       impair our ability to earn revenues from milestone payments or royalties under the
       Collaboration Agreement, any of which would severely and adversely affect our
       business and business prospects and the future of imetelstat.

       80.     On March 16, 2018, the Individual Defendants caused Geron to issue a press release

announcing the Company’s financial results for 2017. The press release discussed the IMbark

study and stated the following:

       Janssen completed a third internal data review of IMbark in March 2018, based on
       a January 2018 data cut, to enable a protocol amendment to allow the long- term
       treatment and follow up of patients, including for survival, and the Collaboration’s
       Joint Steering Committee (JSC) made the following observations and implemented
       the following actions:


                                                35
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 36 of 54 PageID #: 36




       • The safety profile was consistent with prior clinical trials of imetelstat in
       hematologic malignancies, and no new safety signals were identified.

       • Outcome measures for efficacy, including spleen volume responses and
       reductions in Total Symptom Score remain consistent with the prior data reviews.

       • With a median follow up of approximately 19 months, the median overall survival
       has not been reached in either dosing arm.

       • The trial is officially being closed to new patient enrollment. More than 100
       patients have been enrolled in IMbark to date, which is expected to be adequate to
       assess overall survival. Patients who remain in the treatment phase may continue
       to receive imetelstat, and until the primary analysis, all safety and efficacy
       assessments are being conducted as planned in the protocol, including following
       patients, to the extent possible, until death to enable an assessment of overall
       survival.

       • Based on the rate of deaths occurring in the trial, the protocol-specified primary
       analysis, which includes an assessment of overall survival, will begin by the end of
       the second quarter of 2018.

       • Upon the protocol-specified primary analysis, the main trial will be completed.
       The IMbark protocol is being amended to establish an extension phase of the trial
       to enable patients remaining in the treatment phase to continue to receive imetelstat
       treatment per investigator discretion. During the extension phase, standard data
       collection will primarily consist of safety information.

       81.    On March 16, 2018, the Individual Defendants caused the Company to file a Form

10-K with the SEC for 2017 (“2017 10-K”), which was signed by all of the Individual Defendants.

The 2017 10-K stated:

       Current Status of IMbark

       In March 2018, Janssen completed a third internal data review of IMbark, based on
       a January 2018 data cut, to enable a protocol amendment to allow the long-term
       treatment and follow up of patients, including for survival, and the JSC made the
       following observations and implemented the following actions: . . .

       • Outcome measures for efficacy, including spleen volume response and reductions
       in Total Symptom Score remain consistent with prior data reviews.

       • With a median follow up of approximately 19 months, the median overall survival
       has not been reached in either dosing arm.

                                         *      *       *



                                                36
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 37 of 54 PageID #: 37




       Item 7. Management’s Discussion and Analysis of Financial Condition and Results
       of Operations

       . . . Janssen completed internal data reviews in September 2016, April 2017 and
       March 2018. In these data reviews, activity within multiple outcome measures was
       observed with imetelstat treatment that suggest potential clinical benefit in patients
       with MF who are relapsed after or refractory to prior treatment with a janus kinase,
       or JAK, inhibitor . . . .”

                                         *       *       *

       ● “if imetelstat fails to meet criteria determined by Janssen to support an affirmative
       Continuation Decision, or for any other reason, Janssen may discontinue the
       imetelstat program and terminate the Collaboration Agreement”;

       ● “Even if Janssen obtains longer-term efficacy and safety data for IMbark, Janssen
       . . . may determine that such data do not show an adequate improvement in survival
       to support further development and potential regulatory approval for imetelstat in
       relapsed or refractory MF patients, which we expect would result in a decision by
       Janssen to discontinue IMbark and the imetelstat program and terminate the
       Collaboration Agreement”;

       ● “Current clinical trials of imetelstat being conducted by Janssen, including
       IMbark . . . may fail to demonstrate sufficient safety and efficacy of imetelstat to
       warrant further development of the drug, which could prevent or further delay
       regulatory approval and commercialization of imetelstat”; and

       ● “the potential disease-modifying activity observed through molecular responses
       in the ET trial and partial or complete remissions observed in the Pilot Study may
       not be seen in current or future clinical trials of imetelstat.”

       82.    During a March 19, 2018 conference call with investors analysts, defendant Scarlett

discussed the IMbark study data and the JSC’s observations. Defendant Scarlett also stated:

       This morning I’ll start my remarks with a summary of the results from the latest
       internal data review conducted by Janssen on the IMbark, and an update on the
       projected timing of the protocol-specified primary analysis for IMbark and the
       subsequent potential continuation decision from Janssen. I’ll then conclude with
       the status of the IMerge trial, including a recap of the data that was recently
       presented at the American Society for Hematology or ASH Annual Meeting, that
       was in last December.

       As a reminder, IMbark is a Phase 2 clinical trial designed to test 2 doses of
       imetelstat, 9.4 milligrams per kilogram or 4.7 milligrams per kilogram,
       administered every 3 weeks in intermediate-2 or high-risk MF patients who are
       refractory to or have relapsed after treatment with the JAK inhibitor.



                                                 37
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 38 of 54 PageID #: 38




       In reviewing the data, which was based on a January 2018 data cut, the
       collaboration’s Joint Steering Committee, or JSC, made the following observations:
       first, the safety profile was consistent with prior clinical trials of imetelstat in
       hematologic malignancies and no new safety signals were identified; second,
       outcome measures for efficacy, including spleen volume responses and reductions
       in Total Symptom Score remain consistent with the prior data reviews; third, with
       a median follow-up of approximately 19 months as of the January 2018 data cut,
       the median overall survival has not been reached in either dosing arm.

       Patients who remain on the treatment phase may continue to receive imetelstat, and
       until the primary analysis, all safety and efficacy assessments are being conducted
       as planned in the protocol, including following patients, to the extent possible, until
       death to enable an assessment of overall survival.

       Upon the completion of the protocol-specified primary analysis, the main trial will
       be completed.

       83.     Defendant Scarlett’s representations that the IMbark data showed a potential

improvement in overall survival compared to “real world data” were materially false and

misleading because he did not disclose the negative data indicating that imetelstat did not improve

quality of life, as 90% of patients failed to experience a spleen volume reduction of ≥35%, and

68% failed to experience an improvement in severe, debilitating symptoms of ≥50%.

       84.     On March 27, 2018, defendant Scarlett attended the 17th Annual Needham

Healthcare Conference in New York City. At the presentation, he introduced a slide titled “IMbark

Internal Data Reviews, Findings to Date.” The slide, which was also posted on Geron’s website,

purported to summarize “Internal data reviews completed by Janssen in September 2016, April

2017 and March 2018.” It represented that “[a]ctivity within multiple outcome measures observed,

suggesting clinical benefit in R/R MF” including a “[r]ange of reductions in spleen volume” and

“[d]ecreases in Total Symptoms Score.” The slide also stated “Median OS not reached in either

dosing arm (with median follow-up of ~19 months at January 2018 data cut).” Nevertheless,

defendant Scarlett’s representations were materially false and misleading because Scarlett




                                                 38
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 39 of 54 PageID #: 39




concealed the material adverse result of the IMbark study and misrepresented the IMbark outcomes

concerning the two key primary endpoints.

       85.     The above statements in ¶¶ 73-84 were materially misleading because they failed

to disclose: (a) that the IMbark study failed to meet its primary efficacy endpoints critical to

measure the success of imetelstat; (b) that the overall survival rate in the IMbark study could not

be meaningfully compared with other studies without providing the baseline disease characteristics

of patients enrolled in the IMbark study; and (c) that, as a result of the foregoing, Janssen was

reasonably likely to terminate its collaboration with Geron.

THE TRUTH BEGINS TO EMERGE

       86.     On March 27, 2018, Adam Feuerstein, a veteran biotech journalist, published an

article on STAT News, an online life sciences publication, titled “The top-performing biotech stock

this year has surged on flimsy data.” In the article, Feuerstein questioned whether the Individual

Defendants’ statements about survival were intentionally misleading:

       Is a median overall survival of 19 months meaningful for these myelofibrosis
       patients?

       Yes, said Scarlett, even though the company’s study lacks a control arm to compare
       against imetelstat for survival.

       Undeterred, Scarlett compared the survival update from Geron’s imetelstat study to
       a separate analysis of “real world” myelofibrosis patient outcomes presented at a
       medical meeting by Janssen in 2016.

       For myelofibrosis patients who discontinued or no longer responded to Jakafi,
       median overall survival was seven months in the Janssen analysis, said Scarlett.

       That single data makes imetelstat look better. But the rest of the study undermines
       his argument.

       Of the 430 myelofibrosis patients who received Jakafi as a first-line therapy (the
       patient group highlighted by Scarlett), only 15 percent went on to receive a second-
       line treatment with a different drug. The other 85 percent of patients received no
       further treatment, suggesting they were too frail and close to death, according to the
       Janssen analysis.


                                                39
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 40 of 54 PageID #: 40




      Janssen also looked at myelofibrosis patients who received another treatment after
      Jakafi. These patients lived a lot longer than seven months.

      Sixty-three patients received Jakafi first and then a different second-line treatment.
      Their median survival was 14 months. Another 49 patients started on Jakafi and
      then received Jakafi again. Their median survival was 30 months. Blended
      together, the median survival for these 112 patients was approximately 22 months.

      By that comparison — which Scarlett did not mention last week — the 19-month
      median survival for imetelstat patients doesn’t look as promising.

      I asked Geron and Janssen to disclose the baseline disease characteristics of the 100
      myelofibrosis patients enrolled in their Phase 2 study. That information — easily
      shared without compromising the conduct of the study — would help investors
      better interpret the interim imetelstat survival data.

      Both companies declined the request.

      I also asked Geron and Janssen to explain why they’ve delayed by almost one year
      the disclosure of primary endpoint results from the Phase 2 study that would show,
      definitively, if myelofibrosis patients respond to treatment with imetelstat.

      Again, they declined to share those data.

      This is perhaps the most troubling aspect of the companies’ behavior.
      Myelofibrosis drugs are approved based on their ability to shrink enlarged spleens
      and reduce overall disease symptoms. These two efficacy measures are the co-
      primary endpoints of the imetelstat study, not survival, which is listed as the fifth
      secondary endpoint.

      The last myelofibrosis patient to enroll in the Geron and Janssen study did so in
      October 2016. The patients are treated with imetelstat for 24 weeks, which means
      spleen and symptom responses have been available to the companies since April
      2017.

      That’s almost one year ago, so why haven’t these results been disclosed publicly?
      “We are focused on survival in this myelofibrosis patient population,” Geron
      spokesperson Anna Krassowska told me.

      It’s reasonable to assume Geron would be screaming from the biotech mountaintop
      had imetelstat showed meaningful disease activity in these hard-to-treat
      myelofibrosis patients. (Something other companies developing competing drugs
      have done.) Keeping those objective data under wraps — while focusing instead
      on a fuzzy survival talking point — is a significant red flag against imetelstat.

      87.    Despite questions arising from industry experts, the Individual Defendants

continued to mislead the public. On May 10, 2018, the Individual Defendants caused Geron to


                                               40
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 41 of 54 PageID #: 41




file a Form 10-Q with the SEC, which stated that, “the JSC concluded that as of January 2018,

median follow up was approximately 19 months, and median overall survival had not been reached

in either arm. Also, on May 10, 2018, the Individual Defendants caused the Company to issue a

press release, which continued to fail to disclose the material adverse result of the IMbark study.

The press release stated, in relevant part:

       “As we have previously announced, we expect Janssen to make its decision about
       whether to continue their development of imetelstat by the end of third quarter of
       2018,” said John A. Scarlett, M.D., Geron’s President and Chief Executive Officer.
       “Regardless of Janssen’s future decision, we believe imetelstat warrants further
       development because of the activity observed in lower risk MDS patients from Part
       1 of IMerge as presented at ASH last December, and the evolving overall survival
       in relapsed or refractory MF patients observed in IMbark.”

       88.     The Individual Defendants continued to conceal the material adverse result of the

IMbark study. For example, on July 31, 2018, the Individual Defendants caused the Company to

file a Form 10-Q with the SEC (“2Q18 10-Q”), which contained similar comments highlighting

the primary endpoints for imetelstat in the IMbark trial and that Geron and Janssen had amended

the trial protocol to include an “assessment of overall survival.” The 2Q18 10-Q did not discuss

whether or not imetelstat had met its primary endpoints in the IMbark trial, nor was there any

disclosure of imetelstat’s numerical metrics with respect to either primary endpoint.

       89.     On September 27, 2018, before the market opened, the Individual Defendants

disclosed the material, adverse results of the IMbark study when they caused Geron to issue a press

release, which stated:

       IMbark Protocol-Specified Primary Analysis Highlights

       IMbark was designed as a Phase 2 clinical trial to evaluate two starting dose levels
       of imetelstat (either 4.7 mg/kg or 9.4 mg/kg administered by intravenous infusion
       every three weeks) in approximately 200 patients with Intermediate-2 or High-risk
       myelofibrosis (MF) who have relapsed after or are refractory to prior treatment with
       a JAK inhibitor.




                                                41
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 42 of 54 PageID #: 42




       The co-primary efficacy endpoints for the trial are spleen response rate, defined as
       the proportion of patients who achieve a ≥35% reduction in spleen volume assessed
       by imaging; and symptom response rate, defined as the proportion of patients who
       achieve a ≥50% reduction in Total Symptom Score, at 24 weeks. Key secondary
       endpoints are safety and overall survival.

       For the 9.4 mg/kg dosing arm (n=59), highlights from the primary analysis included
       a spleen response rate of 10% and a symptom response rate of 32%. No patients
       achieved complete remission, and one patient achieved partial remission. The
       safety profile was consistent with priorclinical trials of imetelstat in hematologic
       malignancies, and no new safety signals were identified. The most common
       adverse events were cytopenias. At the time of the primary analysis, median overall
       survival had not been reached after 23 months of median follow-up.

       90.     The Individual Defendants also disclosed that Janssen had terminated its

partnership to develop imetelstat.

       91.     The same day the full results were finally disclosed, STAT News published a follow-

up piece concerning Geron’s disclosure. The article stated, “Back in March, Geron CEO John

Scarlett ignited a steep run higher in the stock price with a suggestion, uttered on a conference call,

that imetelstat was prolonging survival in patients with the bone marrow disorder myelofibrosis.”

The STAT News article characterized defendant Scarlett’s conduct as a “bait-and-switch tactic.”

The article further stated, “The Phase 2 study was designed primarily to determine if imetelstat

could shrink spleens and improve myelofibrosis disease symptoms. Geron and Janssen were

keeping these data hidden, even though they were readily available. Shifting attention to survival

was a smokescreen. On Thursday [September 27, 2018], we learned why. The spleen response

rate to imetelstat in the myelofibrosis study was a disappointing 10 percent.”

       92.     Following the disclosures of the truth, the price of Geron’s common stock dropped

from a closing price on September 26, 2018 of $6.23 per share, to $2.31 per share, a decrease $3.92

per share or over 62%, on massive trading volume of over 84 million shares. As a direct and

proximate result of the Individual Defendants’ actions as alleged above, Geron’s market




                                                  42
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 43 of 54 PageID #: 43




capitalization has been substantially damaged, losing over $1.1 billion in value as a result of the

conduct described herein.

CERTAIN OF THE INDIVIDUAL DEFENDANTS ISSUED A MATERIALLY FALSE AND MISLEADING
PROXY STATEMENT DURING THE RELEVANT PERIOD.

       93.     In addition to the above false and misleading statements issued and/or caused to be

issued by the Individual Defendants, defendants Scarlett, Eastham, Lawlis, Molineaux, Spiegel,

Bradbury, and Huh (the “Proxy Defendants”) also caused the Company to issue a false and

misleading proxy statement during the Relevant Period. The Proxy Defendants drafted, approved,

reviewed, and/or signed a Form DEF14A before it was filed with the SEC and disseminated to

Geron’s stockholders on March 30, 2018 (the “2018 Proxy”). The Proxy Defendants negligently

issued materially misleading statements in the 2018 Proxy.

       94.     These proxy allegations are based solely on negligence, they are not based on any

allegations of recklessness or knowing conduct by or on behalf of the Individual Defendants, and

they do not allege nor sound in fraud. Plaintiff specifically disclaims any allegations of, reliance

upon any allegation of, or reference to any allegation of fraud, scienter, or recklessness with regard

to the proxy allegations and related claims.

       95.     The 2018 Proxy sought stockholder votes to, among others, elect defendants

Scarlett and Spiegel for a three-year term.

       96.     In support of the Proxy Defendants’ bid to reelect defendants Scarlett and Spiegel,

the Proxy Defendants highlighted their supposed oversight of the Company. In particular, the

2018 Proxy assured stockholders that the Board and its committees regularly assess and manage

the risks that Geron faces, including legal and regulatory risks, financial controls, and risks

associated with compensation programs and plans. The 2018 Proxy stated:

       The Board and our executive management team work together to manage our risks.
       It is management’s responsibility to identify various risks facing the Company,


                                                 43
Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 44 of 54 PageID #: 44




    bring the Board’s attention to material risks, and implement appropriate risk
    management policies and procedures to manage risk exposure on a day-to-day
    basis. The Board has an active role in overseeing our risk management process
    directly or through its committees.

    The Board has delegated responsibility for the oversight of specific risks to the
    Board committees as follows:

              The Audit Committee oversees management of financial risks. In
               addition to fulfilling its responsibilities for the oversight of our financial
               reporting processes and annual audit of Geron’s financial statements,
               the Audit Committee also reviews with the independent registered
               public accounting firm and the Company’s management the adequacy
               and effectiveness of our policies and procedures to assess, monitor and
               manage fraud risk and our ethical compliance program. The Audit
               Committee takes appropriate actions to set the best practices and highest
               standards for quality financial reporting, sound business risk practices
               and ethical behavior.

              The Compensation Committee is responsible for overseeing the
               management of risks relating to our employment policies and executive
               compensation plans and arrangements. In connection with structuring
               the executive compensation program, the Compensation Committee,
               together with the Board, considers whether the elements of such
               program, individually or in the aggregate, encourage our Named
               Executive Officers to take unnecessary risks. For further information,
               see the sub-section entitled “Risk Assessment of Compensation Policies
               and Practices.”

              The Nominating and Corporate Governance Committee manages
               Geron’s corporate governance practices. In addition, the Nominating
               and Corporate Governance Committee reviews risks associated with the
               independence of the Board, potential conflicts of interest and risks
               relating to management and Board succession planning.

    While each committee is responsible for evaluating certain risks and overseeing the
    management of such risks within its respective oversight area, the entire Board is
    regularly informed through committee reports about such risks.

                                      *        *       *

    AUDIT COMMITTEE REPORT

    The Audit Committee of Geron Corporation’s Board of Directors is comprised of
    three independent directors as required by the listing standards of Nasdaq. The
    Audit Committee operates pursuant to a written charter that was last amended and



                                              44
Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 45 of 54 PageID #: 45




    restated by the Board in November 2017. A copy of the Audit Committee’s
    amended and restated charter is available on our website at www.geron.com.

    The members of the Audit Committee are Ms. Eastham (Chairperson), Dr. Lawlis
    and Mr. Bradbury. The Board has determined that all members of the Audit
    Committee are financially literate as required by Nasdaq. The Board has also
    determined that Ms. Eastham and Mr. Bradbury are audit committee financial
    experts as defined by Nasdaq.

    The function of the Audit Committee is to assist the Board in fulfilling its oversight
    responsibilities regarding:

    (i) the quality and integrity of our financial statements,

    (ii) our compliance with legal and regulatory requirements,

    (iii) the qualifications and independence of the independent registered public
    accounting firm serving as our auditors and

    (iv) the performance of the independent registered public accounting firm.

    Management is responsible for Geron’s internal controls and financial reporting.
    The independent registered public accounting firm is responsible for performing an
    independent audit of Geron’s financial statements in accordance with generally
    accepted auditing standards and to issue a report thereon. The Audit Committee’s
    responsibility is to monitor and oversee these processes.

    In this context, the Audit Committee hereby reports as follows:

    1) The Audit Committee has reviewed and discussed the audited financial
    statements of the Company as of and for the fiscal year ended December 31, 2017
    with management and the independent registered public accounting firm serving as
    the Company’s independent auditors.

    2) The Audit Committee has discussed with the independent auditors the matters
    required to be discussed by Auditing Standard No. 1301 (Communication with
    Audit Committees) as adopted by the Public Company Accounting Oversight
    Board, other professional standards, membership provisions of the SEC Practice
    Session, and other SEC rules, as currently in effect.

    3) The Audit Committee has received the written disclosures and the letter from the
    independent auditors required by applicable requirements of the Public Company
    Accounting Oversight Board regarding the independent auditor’s communications
    with the Audit Committee concerning independence, and has discussed with the
    independent auditors the independent auditor’s independence.




                                              45
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 46 of 54 PageID #: 46




       4) The Audit Committee has considered whether the independent auditor’s
       provision of non-audit services to the Company is compatible with maintaining the
       independent auditor’s independence.

       Based on the reports and discussions described above, the Audit Committee
       recommended to the Board that the audited financial statements be included in
       Geron’s Annual Report on Form 10-K for the year ended December 31, 2017, for
       filing with the SEC.

       97.     The 2018 Proxy, thus, assured stockholders that both the Individual Defendants and

the Board members were involved with Geron’s business strategy, actively monitored the

Company’s risks and exposures, followed good corporate governance practices, and acted in an

ethical and legal manner. In reality, the Individual Defendants were utterly failing in their

oversight duties by allowing the Company to operate with inadequate internal controls which

resulted in the failure to disclose: (a) that the IMbark study failed to meet its primary efficacy

endpoints critical to measure the success of imetelstat; (b) that the overall survival rate in the

IMbark study could not be meaningfully compared with other studies without providing the

baseline disease characteristics of patients enrolled in the IMbark study; and (c) that, as a result of

the foregoing, Janssen was reasonably likely to terminate its collaboration with Geron.

       98.     As a result of these misleading statements, the Company’s stockholders voted via

an uninformed stockholder vote to reelect defendants Scarlett and Spiegel.

                                DAMAGES TO THE COMPANY

       99.     As a result of the Individual Defendants’ wrongful conduct, Geron disseminated

false and misleading statements and omitted material information to make such statements not

false and misleading when made. The improper statements have devastated Geron’s credibility.

Geron has been, and will continue to be, severely damaged and injured by the Individual

Defendants’ misconduct.




                                                  46
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 47 of 54 PageID #: 47




       100.    Furthermore, aside from ruining the Company’s reputation for honesty, integrity,

and aptitude, the Individual Defendants have exposed the Company to very expensive legal costs

to defend, investigate, and pay judgment or settlement in the Securities Class Action.

       101.    As a direct and proximate result of the Individual Defendants’ actions as alleged

above, Geron’s market capitalization has been substantially damaged, losing millions of dollars in

value as a result of the conduct described herein.

       102.    Moreover, these actions have irreparably damaged Geron’s corporate image and

goodwill. For at least the foreseeable future, Geron will suffer from what is known as the “liar’s

discount,” a term applied to the stocks of companies who have been implicated in illegal behavior

and have misled the investing public, such that Geron’s ability to raise equity capital or debt on

favorable terms in the future is now impaired.

                DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       103.    Plaintiff incorporates the allegations herein by reference.

       104.    Plaintiff brings this action derivatively in the right and for the benefit of the

Company to redress the Individual Defendants’ breaches of fiduciary duties and other violations

of the law.

       105.    Plaintiff is a stockholder of Geron, was a stockholder of Geron at the time of the

wrongdoing alleged herein, and has been a stockholder of Geron continuously since that time.

       106.    Plaintiff will adequately and fairly represent the interests of the Company and its

stockholders in enforcing and prosecuting its rights.

       107.    At the time of the filing of this complaint, the Geron Board consists of the following

seven individuals: defendants Scarlett, Eastham, Lawlis, Molineaux, and Spiegel, and non-parties

Dawn C. Bir (“Bir”) and Elizabeth G. O’Farrell (“O’Farrell”).




                                                 47
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 48 of 54 PageID #: 48




       108.    As a result of the facts set forth herein, Plaintiff has not made any demand on the

Board to institute this action against the Individual Defendants. Such a demand would have been

a futile and useless act with respect to each and every one of the current members of the Board

because they are incapable of making an independent and disinterested decision to institute and

vigorously prosecute this action.

DEMAND IS FUTILE AS TO THE INDIVIDUAL DEFENDANTS BECAUSE THEY EACH FACE                           A
SUBSTANTIAL LIKELIHOOD OF LIABILITY

       109.    The Individual Defendants all face a substantial likelihood of liability for their

individual misconduct. Defendants Scarlett, Eastham, Lawlis, Molineaux, and Spiegel were

directors throughout the time of the false and misleading statements, and as such had a fiduciary

duty to ensure that the Company’s SEC filings, press releases, and other public statements and

presentations on behalf of the Company concerning its business, operations, prospects, internal

controls, and financial statements were accurate.

       110.    Moreover, as directors, defendants Scarlett, Eastham, Lawlis, Molineaux, and

Spiegel owed a duty to, in good faith and with due diligence, exercise reasonable inquiry,

oversight, and supervision to ensure that the Company’s internal controls were sufficiently robust

and effective (and were being implemented effectively), and to ensure that the Board’s duties were

being discharged in good faith and with the required diligence and due care. Instead, defendants

Scarlett, Eastham, Lawlis, Molineaux, and Spiegel knowingly and/or recklessly allowed, made or

authorized false and misleading statements, failed to timely correct such statements, failed to take

necessary and appropriate steps to ensure that the Company’s internal controls were sufficiently

robust and effective (and were being implemented effectively), and failed to take necessary and

appropriate steps to ensure that the Board’s duties were being discharged in good faith and with

the required diligence. These actions constitute breaches of the fiduciary duties of loyalty and



                                                48
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 49 of 54 PageID #: 49




good faith, for which defendants Scarlett, Eastham, Lawlis, Molineaux, and Spiegel face a

substantial likelihood of liability. Indeed, defendants Scarlett, Eastham, Lawlis, Molineaux, and

Spiegel all signed the 2017 10-K with the SEC on March 16 2018, which failed to disclose that

(a) the IMbark study failed to meet its primary efficacy endpoints critical to measure the success

of imetelstat; (b) the overall survival rate in the IMbark study could not be meaningfully compared

with other studies without providing the baseline disease characteristics of patients enrolled in the

IMbark study; and (c) as a result of the foregoing, Janssen was reasonably likely to terminate its

collaboration with Geron.

       111.    If defendants Scarlett, Eastham, Lawlis, Molineaux, and Spiegel were to bring a

suit on behalf of Geron to recover damages sustained as a result of this misconduct, they would

expose themselves to significant liability. This is something they will not do. For this reason,

demand is futile as to defendants Scarlett, Eastham, Lawlis, Molineaux, and Spiegel.

       112.    Further, defendant Scarlett is incapable of considering a demand to commence and

vigorously prosecute this action because he faces additional substantial likelihood of liability as

he is a named defendant in the Securities Class Action. Additionally, defendant Scarlett is not

independent because his principal source of income comes from his employment with Geron. In

2019 alone, defendant Scarlett received $1,941,135 from the Company in compensation, which

amount is material to him. Indeed, Forms DEF 14A filed with the SEC admits that defendant

Scarlett is not independent.

DEMAND IS EXCUSED AS TO THE AUDIT COMMITTEE DEFENDANTS BECAUSE THEY FACE A
SUBSTANTIAL LIKELIHOOD OF LIABILITY

       113.    As members of the Audit Committee during the Relevant Period, the Audit

Committee Defendants participated in and knowingly approved the filing of false financial

statements and allowed the Individual Defendants to repeatedly make other false and misleading



                                                 49
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 50 of 54 PageID #: 50




statements to the investing public. More specifically, as members of the Audit Committee, the

Audit Committee Defendants were obligated to oversee and monitor the (a) integrity of the

Company’s financial statements, and (b) tCompany’s compliance with legal and regulatory

requirements. Instead, the Audit Committee Defendants failed to ensure the integrity of the

Company’s financial statements and financial reporting process, the Company’s systems of

internal accounting and financial controls, and compliance with legal and regulatory requirements,

as required by the Charter. For this reason, demand is futile as to the Audit Committee Defendants.

                                         COUNT I
                     VIOLATION OF SECTION 14(A) OF THE EXCHANGE ACT
                              (Against the Proxy Defendants)

       114.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       115.    The Section 14(a) Exchange Act claims alleged herein are based solely on

negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf

of the Individual Defendants. The section 14(a) Exchange Act claims detailed herein do not allege

and do not sound in fraud. Plaintiff specifically disclaims any allegation of, reliance upon any

allegation of, or reference to any allegation of fraud, scienter, or recklessness with regard to the

nonfraud claims.

       116.    The Proxy Defendants negligently issued, caused to be issued, and participated in

the issuance of materially misleading written statements to stockholders which were contained in

the 2018 Proxy. In the 2018 Proxy, the Proxy Defendants solicited stockholder votes to reelect

defendants Scarlett and Spiegel to the Board.

       117.    The 2018 Proxy, however, misrepresented and failed to disclose, among others, the

Board’s risk oversight and the Company’s inadequate internal controls which facilitated the illegal

behavior described herein. By reasons of the conduct alleged herein, the Proxy Defendants


                                                50
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 51 of 54 PageID #: 51




violated Section 14(a) of the Exchange Act. As a direct and proximate result of these defendants’

wrongful conduct, Geron misled and deceived its stockholders by making materially misleading

statements that were essential links in stockholders following the Company’s recommendation and

voting to reelect defendants Scarlett and Spiegel to the Board.

           118.   Plaintiff, on behalf of Geron, thereby seeks relief for damages inflicted upon the

Company based upon the misleading 2018 Proxy in connection with the improper reelection of

defendants Scarlett and Spiegel to the Board.

                                              COUNT II
                                    BREACH OF FIDUCIARY DUTY
                                 (Against the Individual Defendants)

           119.   Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

           120.   Each of the Individual Defendants owed to the Company the duty to exercise

candor, good faith, and loyalty in the management and administration of Geron’s business and

affairs.

           121.   Each of the Individual Defendants violated and breached his or her fiduciary duties

of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

           122.   The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The

Individual Defendants intentionally or recklessly breached or disregarded their fiduciary duties to

protect the rights and interests of Geron.

           123.   In breach of their fiduciary duties, the Individual Defendants failed to maintain an

adequate system of oversight, disclosure controls and procedures, and internal controls.

           124.   In addition, the Individual Defendants further breached their fiduciary duties owed

to Geron by willfully or recklessly making and/or causing the Company to make false and


                                                   51
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 52 of 54 PageID #: 52




misleading statements and omissions of material fact and failed to disclose to investors that: (a)

the IMbark study failed to meet its primary efficacy endpoints critical to measure the success of

imetelstat; (b) the overall survival rate in the IMbark study could not be meaningfully compared

with other studies without providing the baseline disease characteristics of patients enrolled in the

IMbark study; and (c) as a result of the foregoing, Janssen was reasonably likely to terminate its

collaboration with Geron. As a result of the foregoing, the Company’s public statements were

materially false and misleading at all relevant times.

       125.    The Individual Defendants failed to correct and caused the Company to fail to

rectify any of the wrongs described herein or correct the false and misleading statements and

omissions of material fact referenced herein, rendering them personally liable to the Company for

breaching their fiduciary duties.

       126.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent scheme set forth herein and to fail to

maintain adequate internal controls. The Individual Defendants had actual knowledge that the

Company was engaging in the fraudulent scheme set forth herein, and that internal controls were

not adequately maintained, or acted with reckless disregard for the truth, in that they caused the

Company to improperly engage in the fraudulent scheme and to fail to maintain adequate internal

controls, even though such facts were available to them. The Individual Defendants, in good faith,

should have taken appropriate action to correct the schemes alleged herein and to prevent them

from continuing to occur.

       127.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.




                                                 52
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 53 of 54 PageID #: 53




        128.   As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, Geron has sustained and continues to sustain significant damages. As a

result of the misconduct alleged herein, the Individual Defendants are liable to the Company.

        129.   Plaintiff on behalf of Geron has no adequate remedy at law.

                                          COUNT III
                                     UNJUST ENRICHMENT
                                (Against Individual Defendants)

        130.   Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

        131.   By their wrongful acts and omissions, the Individual Defendants were unjustly

enriched at the expense of and to the detriment of Geron in the form of salaries, bonuses, and other

forms of compensation.

        132.   Plaintiff, as a stockholder and representative of Geron, seeks restitution from the

Individual Defendants, and each of them, and seeks an order of this Court disgorging all profits,

benefits, and other compensation obtained by the Individual Defendants, and each of them, from

their wrongful conduct and fiduciary breaches.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment as follows:

               A.      Declaring that Plaintiff may maintain this derivative action on behalf of

Geron and that Plaintiff is a proper and adequate representative of the Company;

               B.      Awarding the amount of damages sustained by the Company as a result of

the Individual Defendants’ breaches of fiduciary duties and violations of the federal securities

laws;

               C.      Granting appropriate equitable relief to remedy the Individual Defendants’

breaches of fiduciary duties and other violations of law;


                                                 53
 Case 1:20-cv-01207-LPS Document 1 Filed 09/10/20 Page 54 of 54 PageID #: 54




              D.      Awarding to Plaintiff the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees and costs and expenses; and

              E.      Granting such other and further relief as the Court deems just and proper.

                                 JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

  Dated: September 10, 2020

                                                        Respectfully Submitted,



                                                        /s/ Blake A. Bennett
                                                        COOCH AND TAYLOR, P.A.
                                                        Blake A. Bennett (#5133)
                                                        The Nemours Building
                                                        1007 N. Orange Street, Suite 1120
                                                        Wilmington, Delaware 19801
                                                        Telephone: (302) 984-3800
                                                        Email: bbennett@coochtaylor.com

                                                        Attorney for Plaintiff

  BRAGAR EAGEL & SQUIRE, P.C.
  Melissa A. Fortunato
  Garam Choe
  885 Third Avenue, Suite 3040
  New York, New York 10022
  Telephone: (212) 355-4648




                                                   54
